
686 S.E.2d 150 (2009)
Donald P. EDMUNDS
v.
Phyllis M. EDMUNDS.
No. 23A09.
Supreme Court of North Carolina.
December 11, 2009.
*151 The McGougan Law Firm, by Paul J. Ekster and Dennis T. Worley, Tabor City, for plaintiff-appellee.
The Odom Firm, PLLC, by Thomas L. Odom, Jr. and David W. Murray, Charlotte; and Williamson, Walton &amp; Scott, LLP, by Benton H. Walton, III and C. Martin Scott, II, Whiteville, for defendant-appellant.
PER CURIAM.
AFFIRMED.
